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EXHIBIT K
 

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Grant County
Human Resources Department
35 C St. NW
P.O, Box 37
Ephrata, WA 98823
509.754.2011 ext. 402
509,754.6588 - fax

September 1, 2009

Jennifer Lane
9388 Naples St. SE
Moses Lake, WA 98837

 

Re: Separation Date/Position Opening

Dear Ms. Jennifer Lane:

As we stated to you In our letter dated July, 9th 2009, per the Grant County Family Medical Leave Act Pollcy 04-01, It is the. policy of
Grant County to grant up to 12 weeks of family and medical leave during any 12-month period to eligible employees, in accordance
with the Family and Medical Leave Act of 1993 (FMLA). You have been designated as a “Key Employee". Per the Federal Code of

Regulations, Key Employee Rights, Grant County has.determined that substantial and grievous economic Injury to Grant County -

operations will result if you are reinstated to your position as PARC Administrator upon return from FMLA dave as this position has
since been eliminated.

Your FMLA leave will conclude on September 21s, 2009. Your official Separation Date of employment will be September 224, 2009,
Your health insurance benefits will terminate October 304, 2009. You will recelve Information regarding the continuation of-your
health insurance benefits (COBRA — Consolidated Omnibus Budget Reconclliation Act) via the U.S. postal service, You may
also be eligible to convert your Group Life Insurance coverage {to an individual policy and keep the sarne level of coverage after
separation of employment. If you are interested in continuing this coverage, or have other questlons, please contact our
department for an application and additional information. Upon separation of employment employees are compensated for all
wages due for services rendered through thelr date of separation and any additional compensation due, such as annual leave

minus authorized deductions on the next regularly scheduled pay day.

When employees leave the County, they have the opportunity to participate in an exit Interview. The primary purpose of this exit
interview Is to gain valuable feedback about their work experience at Grant County. An employee's participation in an exit
interview is voluntary and can remain anonymous by filling out a questionnaire. We encourage honesty and openness. if you
would like to participate i in either a face to face or a written exit interview, please notify Human Resources,

’ PARC integration meetings have continued to take place with Grant integrated Services and a restructuring organizational plan has

been further developed fo hire a Program Manager and a Treatment Supervisor. If you are interested in elther of these positions,
please submit a letter of interest to Human Resources by the deadline closing dates, which are available on our website,

Although your position with the county has been eliminated, we thank you for the work you have performed on behalf of Grant
County and encourage you to apply for the above and/or any future position openings. The Human Resources Department Is
available to you to answer any questions you may have regarding this notice. Please contact us anytime.

Sincerely,

DEPARTMENT OF HUMAN RESOURCES

enor

Tammie L. Hechler, PHR, MPA

Tammie L. Hechler
Director

"TO MEET CURRENT AND FUTURE NEEDS, SERVING TOGETHER WITH PUBLIC AND PRIVATE ENTITIES,

WHILE FOSTERING A RESPECTFUL AND SUCCESSFUL WORK ENVIRONMENT."
Grant County 3226 - 000959
